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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

GLORIA SHALDERS,
Plaintiff,
Civil Action No.

Vv. 22-12231-NMG

DEPARTMENT OF CHILDREN AND
FAMILIES, et al.,
Defendants.

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ORDER
GORTON, J.
Having reviewed the Plaintiff’s motion for reconsideration
(Docket # 36) of the Court’s November 14, 2023 order (Docket
# 24), the Court DENIES the motion.

Plaintiff's challenge to the Court’s dismissal of the
Department of Children and Families as a defendant is
unavailing. In ratifying the Fourteenth Amendment, the States
did not waive their Eleventh Amendment immunity. Although
Congress has authority to pass legislation abrogating the
States’ Eleventh Amendment immunity in order to enforce the
Fourteenth Amendment, see U.S. Const. amend. XIV, § 5, no such
legislation is implicated in this action. Further, the Ex parte

Young exception to Eleventh Amendment immunity, see Ex parte

Young, 209 U.S. 123 (1908), applies only in a suit against a

state official acting in their official capacity, not against
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the state agency itself, see e.g., Brown v. Newberger, 291 F.3d

89, 92 (1st Cir. 2002) (“Appellants having sued only state
agencies, not officials, there is no basis for invoking Ex parte
Young « 2 « «Ja

Plaintiff's argument that Judge Jennifer Melia’s alleged
misconduct was not committed within her judicial jurisdiction is
without any merit.

Regarding the motion for appointment of counsel, Plaintiff
may file a renewed motion for appointment of counsel if and when
the case proceeds to discovery.

So ordered.

Vet bon Orta.

Nathaniel M. Gorton
United States District Judge

Dated: 12/07/2 623
